Case 2:04-cr-20326-.]DB Document 34 Filed 06/06/05 Page 1 of 2 Page|D 39

l
t-'atan m ,_ }‘€/ U_C,
IN THE UNITED sTATEs DISTRICT coURT
FOR THE WESTERN DISTRICT oF TEI\H~IESS}_+:€5 JU 1-6 PH 1=5 514

WESTERN DIVISION . , n .

.:;1-; 11 . civil i'i-'§GLEU

MLEJ~' C.DES`E`. CT.

UNITED STATES OF AMERICA, t 1111 CPFL11 1.11.)1&1.1¢9;-1::3
Plaintiff, *

v. * Cr. No. 04-20326-B

MARIA OLLIE, *
Defendant. *

 

ORDER GRANTING DEFENDANT’S MOTION
TO CONTINUE SENTENCING DATE

 

For good cause shown, and Without objection by the United States, the Court hereby
GRANTS the defendant’s motion to continue the sentencing date.
The sentencing hearing is hereby RESET for the 25 l’£/ of 2005, at

q`- 00 (a.B/p.m

lt 13 so oRDEREl), true the L_:\ day OfJun 2005

 

ono @able .T. Daniel Breen
@States District Court Judge

This document entered on the docket sheet in co phean
With Ru|e 55 and/or 32(b) FHCrP on ' 'O

    
 

UNITED sTATE D"ISIC COURT - WESTERN D's'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
case 2:04-CR-20326 Was distributed by faX, mail, or direct printing on
June 7, 2005 to the parties listedl

 

 

EdWin A. Perry

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Scott F. Leary

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

